            Case 3:25-cr-00069-KC                   Document 3            Filed 01/08/25            Page 1 of 1
                                                                                                                 FILED
                                                                                                            January 08, 2025


                                                                                                        CLERK, U.S. DISTRICT COURT
                              IN THE UNITED STATES DISTRICT COURT                                       WESTERN DISTRICT OF TEXAS
                               FOR THE WESTERN DISTRICT OF TEXAS                                               By:        DT
                                        El
                                        E LP
                                           PaSoO DIVISION
                                            As                                                                                  Deputy


                                                                                                             EP:25-CR-00069-KC
 UNITED STATES OF AMERICA ,                                       §                  Case No:
                                                                  §
           Plaintiff,                                             §                           SEALED
                                                                  §                     INDIC TMENT
 v.                                                               §
                                                                  §    Possession with       Intent toDistribute a Controlled       Substance
                                                                  §
 JOSE ARMANDO VEGA                                                §
           Defendant.                                             §


          THE GRAND JURY CHARGES:

                                                       COUNT ONE

                                                                                                  Defendant,


                                               JOSE ARMANDO VEGA


knowingly and intentionally possessed with intent to distribute a controlled substance, which


offense involved five kilograms or more of a mixture or substance containing a detectable


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                                  sCcod                              e)d(1S)ubstance, in violation of Title 21, United States


Code, Sections 841(a)(1) and 841(b)(1)(A)(ii).




                                                            A TRUE BILL.


                                                                      2-5—

                                                            FOREPERSON OF THE GRAND JURY



JAIME ESPARZA
UNITED STATES ATTORNEY


BY:
            istant U.S. Attorney
